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                        UNITED STATES DISTRICT COURT
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                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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12    BRETT DESALVO, individually and       Case No.: 2:21-CV-01407-RAO
      on behalf of all others similarly
13    situated,                             CLASS ACTION
14
                       Plaintiff,           Honorable Judge Rozella A. Oliver
15         v.
16                                          [PROPOSED] ORDER GRANTING
      MOONSHADOWS, a California             STIPULATION TO DISMISS CASE
17    Limited Partnership;                  WITH PREJUDICE
18    MOONSHADOWS MALIBU, INC.,
      a California corporation; and DOES 1
19    to 10, inclusive,                    Complaint filed: February 16, 2021
                                           Trial Date:      July 5, 2022
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                       Defendants.
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                                      [Proposed] Order
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